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                                   4                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                   8   UNITED STATES OF AMERICA,
                                   9                   Plaintiff,                             No. CR 14-00175 WHA

                                  10            v.

                                  11   PACIFIC GAS AND ELECTRIC                               REQUEST FOR INFORMATION RE
                                       COMPANY,                                               DIXIE, FLY, AND OTHER FIRES
                                  12
Northern District of California




                                                       Defendant.
 United States District Court




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                                  15         First, PG&E shall please explain its role in the ignition of the Fly Fire, which has now

                                  16   merged with the Dixie Fire. PG&E shall also describe any PG&E equipment removed by the

                                  17   U.S. Forest Service and the location of the equipment when it was in use. PG&E shall

                                  18   additionally describe the extent of trimmed and untrimmed vegetation in the area near where

                                  19   the U.S. Forest Service took possession of PG&E’s equipment. PG&E shall name the relevant

                                  20   circuit and identify (by name, position and house address, the latter may be under seal) officers

                                  21   or other employees who made the decision to leave the relevant circuit energized.

                                  22         Second, with respect to the Dixie Fire, please submit all documentation of the segments

                                  23   of the Bucks Circuit imaged by the drone or from the ground by PG&E or contractor(s), which

                                  24   depict, prior to the fire, the Douglas Fir that is suspected of starting the fire. In submitting the

                                  25   documentation, please identify the tree somehow, so that we can pick it out from the forest.

                                  26   PG&E shall also name the contractor and its employee(s) (by name, position and house

                                  27   address, the latter may be under seal), that operated the drone near the Dixie Fire, on the day of

                                  28   the Dixie Fire’s ignition. Describe the purpose of the drone’s surveillance. If the drone was
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                                   1   not working for PG&E when it flew close to the Dixie Fire, please inform the Court for whom

                                   2   the drone was working. Also explain what the drone was doing. Finally, identify the date and

                                   3   time on which the relevant stretch of the Bucks Circuit had last been worked (and by whom)

                                   4   and what the risk ranking was for that stretch.

                                   5         Third, in a filing not to exceed five pages, please identify each fire that PG&E started, or

                                   6   is suspected to have started, this wildfire season. In a chart that is separate from PG&E’s

                                   7   responses to the above questions, state the following with respect to each fire:

                                   8            1. The date it started;

                                   9            2. The suspected cause;

                                  10            3. The number of acres burned;

                                  11            4. The number of structures burned; and

                                  12            5. The number of fatalities.
Northern District of California
 United States District Court




                                  13   PG&E’s responses will not be deemed as an admission by PG&E that it caused any fire, but

                                  14   they will serve as a starting point for discussion.

                                  15         All responses shall be due AUGUST 16 AT NOON.

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                                  17        IT IS SO ORDERED.

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                                  19   Dated: August 6, 2021.

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                                                                                               WILLIAM ALSUP
                                  22                                                           UNITED STATES DISTRICT JUDGE
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